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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ROBERT LEE MURRAY,

                               Plaintiff,
                                                               21-CV-6718 (LJL)
                   -against-
                                                            ORDER OF SERVICE
 CITY OF NEW YORK, ET AL.,

                               Defendants.

LEWIS J. LIMAN, United States District Judge:

       Defendant City of New York filed a letter on September 27, 2024, pursuant to its Valentin

obligations. Dkt. No. 108. Defendant identified seven individuals, four of whom are current

DOC employees. Id.

       The Court requests that the following Defendants waive service: Correction Captain

Courtney Rogers, Shield No. 506; Correction Officer Christopher Lewis, Shield No. 5517;

Correction Officer Rudolph Murray, Shield No. 4366; and Correction Officer Derrick Stevens,

Shield No. 5292. The Clerk of Court is directed to notify the New York City Department of

Correction and the New York City Law Department of this order.

SO ORDERED.

 Dated:   September 30, 2024
          New York, New York

                                                               LEWIS J. LIMAN
                                                           United States District Judge
